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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

JUDICIAL WATCH, INC.,

                Plaintiff,

   v.
                                                     Case No. 1:19-cv-807 (EGS)
OFFICE OF THE DIRECTOR OF
NATIONAL INTELLIGENCE,

                Defendant.



                                    JOINT STATUS REPORT

        The parties, by counsel, submit this joint status report.

        1.      The background to this case is provided in the parties’ August 5, 2019 Joint Status

Report, ECF No. 7, and August 26, 2019 Joint Status Report, ECF No. 8, and incorporated here

by reference. In the August 26, 2019 Joint Status Report, the parties advised the Court that they

were continuing to work together to resolve any outstanding issues related to ODNI’s response to

Judicial Watch’s FOIA request without the need for summary judgment briefing and proposed

submitting a joint status report to the Court on or before September 20, 2019, informing the

Court whether the parties have resolved all disputes or whether dispositive motions are necessary

and in that event, proposing a briefing schedule. See ECF No. 8 at 1-2.

        2.      The parties have reached a tentative settlement agreement, subject to final

approvals. The parties propose that if the case has not been dismissed by November 22, 2019,

the parties file a Joint Status Report to report to the Court on the status of the settlement.
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Dated: September 20, 2019               Respectfully submitted,


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